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                                   VOL.
                                          1   A    OF
                                                            8
                                                              No.AP-76596

                                 JOHN WILLIAM HUMMEL
                                                                                    APPELLANT



         CAPITAL            MURDER                                              DEATH
         OFFENSE                                                                   PUNISH   MENT
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                                                                       TARRANT                         E



         ýONTENTS    SEALED ENVELOPES                                                     COUNTY   -




                                                                     -----MOTION FOR

                                                        REHEARING     IS



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                                                                      JUSTICE


         Court                                                                        PETITION

         Court No.                                      FOR     DISCRETIONARY        REVIEW   IS


         Judge


         sition                                                                       20




                                                                           JUDGE
         e                P.C.      S

                                                        DISPOSITION
         h                DNP
                                                        DATE                    JUDGE

                                                        SIGNED             PER CURIAM


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